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   EXHIBIT A
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                      IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                                SAN JOSE DIVISION

Noreen Salinas,

                        Plaintiff,

v.                                                    Civil Action No. C 08-02-02625 RS

City of San Jose, Chief Robert Davis,
TASER International, Inc., Officer
Barry Chikayasu, Sergeant. Jason Woodall,
Officer Roderick Smith, Does 10-4 and
Does 9 to 10, inclusive,

                        Defendants.

                       DECLARATION OF JEFFREY HO, M.D.

I, Jeffrey Ho, being of legal age and under the penalties of perjury, state as follows:

     1. I am a competent adult and have personal knowledge of the following facts, or
        believe them to be true based on information and belief. Facts about which I do
        not have personal knowledge are of the type reasonably relied upon by experts in
        this field and have probative value to me in rendering my opinions.

     2. Attached hereto is a true and accurate copy of my expert report in the Salinas v.
        TASER International, Inc., Case No. C 08-02625 RS litigation.

     3. The report summarizes my analysis and findings and includes a statement of my
        opinions. The report also includes data and other information considered by me
        in forming my opinions and sets out my qualifications (including my resume).

     4. My opinions are expressed to a reasonable, or higher, degree of professional
        certainty.

     5. I affirm under the penalties of perjury that the foregoing statements are true and
        correct.




May 12, 2010
Date
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Case: Salinas v. City of San Jose, et al.



*Introduction

I have been retained as an expert medical consultant on behalf of the Defendant, TASER

International, Inc. (TASER) for this case. I have been asked to provide my opinions on

sudden, arrest-related death (ARD) and about the effects of the electrical output from a

TASER® electronic control device (ECD or device) on human physiology and what its

human effects were in this particular case. My opinions offered in this case are rendered

to a reasonable degree of medical certainty or probability.



I reserve the right to supplement or modify this statement if and when I acquire additional

relevant information prior to the time of trial.



*Qualifications:

I am a practicing, residency trained and board-certified emergency medicine physician

and hold an academic appointment at the University of Minnesota Medical School. I am

a Fellow of the American College of Emergency Physicians and the American Academy

of Emergency Medicine and I am a Board Examiner for the American Board of

Emergency Medicine. I also hold a full-time peace officer license in the State of

Minnesota and currently work as a deputy sheriff. I have previous experience as a

firefighter/emergency medical technician (EMT) and have fellowship training

specifically in the area of emergency medical services (EMS)/pre-hospital emergency

care. I have 9 years of reserve military service as a medical corps officer and I currently




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serve as a medical director to EMS agencies in the upper Midwest. I am an expert

medical research consultant on ARD issues to TASER. I maintain certification as a

TASER ECD Instructor, and I serve as the Medical Director to TASER. My area of

expertise includes research in the area of sudden and unexpected death in law-

enforcement related incidents and also the physiologic effects of ECDs. I have conducted

numerous research studies on these devices and have had my work published in peer-

reviewed medical journals and have presented at national/international meetings and

assemblies on these topics. I have been allowed to provide expert opinions on TASER

ECD effects on human subjects in other legal cases both nationally and internationally.

My opinions in this case are based on the above qualifications. In addition to these

qualifications, I refer interested persons to my attached curriculum vitae for further

qualifications and information.



*Publications in the last 10 years:

Please refer to my curriculum vitae for a listing of publications.



*Compensation:

Hourly billing rate: $375.00 per hour for time spent actively working on this case

(reviewing, writing, testifying, providing deposition, etc.) regardless of location.

Travel Billing Rate: $375.00 per hour during business hours (8a-5p) and $187.50 per

hour during non-business hours (5p-8a) for travel time for purposes of business related to

this matter. Travel expenses are to be reimbursed. Domestic first class travel will be

allowed for commercial travel over 6 hours from home station.




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*Exhibits to Be Used at Deposition and Trial

Exhibits to be used at deposition include, but are not limited to: all referenced documents

and other resources listed herein or in each particular document; videos of ECD research;

videos of resistive subjects; explanatory and/or demonstrative charts and/or graphs;

PowerPoint® or Keynote® presentations regarding ECDs; research equipment; and

demonstrative aids and devices.



*Previous testimony or deposition as an expert within the last 4 years:

   1. (CA) Butler v. TASER International (March 2010-deposition; expert for the
      defense, civil wrongful death case)

   2. (OR) Kaady v. Multnomah County (February 2010-deposition; expert for the
      defense, civil wrongful death case)

   3. (AZ) Marquez v. City of Phoenix, et al. (October 2009-deposition; expert for the
      defense, civil wrongful death case)

   4. (AZ) Graff v. TASER International (July 2009-deposition; expert for the defense,
      civil wrongful death case)

   5. (CA) Rosa v. TASER International (June 2009-deposition; expert for the defense,
      civil wrongful death case)

   6. (FL) Nelson v. Hudepohl, et al. (July 2008 and January 2009-first and second
      depositions; expert for the defense, civil use of force case)

   7. (Canada) Braidwood Inquiry, Vancouver, Canada (May 2008-testimony, May
      2009-testimony)

   8. (TN) Lee v. City of Nashville, et al. (August 2008-deposition, April 2009-court
      testimony; expert for the defense, civil wrongful death case)

   9. (FL) Oliver v. City of Orlando, FL, et al. (June 2008-deposition; expert for the
      defense, civil wrongful death case)

   10. (OH) TASER v. Summit County, OH Medical Examiner, et al. (April 2008;
       expert for the plaintiff, wrongful decision case)




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   11. (OH) Morrison v. Muskingum County Sheriff Robert J. Stephenson, et al.
       (October 2007-deposition, February 2008-court testimony; expert for the defense,
       civil use of force case)

   12. (NV) Lomax v. Las Vegas Metropolitan Police Department, et al. (October 2007;
       expert for the defense, civil wrongful death case)

   13. (CA) Heston v. City of Salinas, CA, et al. (June 2007-deposition, May, 2008-
       court testimony; expert for the defense, civil wrongful death case)



*Case Specific Reviewed Documents or Materials
1. Complaint (8-14-08)
2. Amended Complaint (2-17-09)
3. TASER Rule 26a Rpt 001 Initial (12-29-08)
4. Plaintiff’s Rule 26 Disclosures 001 Part 1 (12-18-08)
5. Plaintiff’s Resp and Obj to TASER’s RFP#1
6. TASER ECD Download (7-30-07)
7. Death Certificate and Amendment (5-25-07)
8. Toxicology Report (6-26-07)
9. Neuropathology Report (5-28-07)
10. Medical Examiner Report of Investigation (5-31-07)
11. Autopsy Report (5-28-07)
12. Prior Police Records (5-7-06, 4-26-07, 5-23-07)
13. American Medical Response (AMR) Records (5-25-07)
14. Prior AMR Records (4-26-07)
15. Santa Clara Medical Records (12-1-08)
16. Police Report of Detective Anaya (5-25-07)
17. Police Report of Sergent Chen (5-25-07)
18. Police Report of Officer Chickayasu (5-25-07)
19. Police Report of Officer Corbin (5-25-07)
20. Police Report of Officer Forrester (5-25-07)
21. Police Report of Officer Foster (5-25-07)
22. Police Report of Officer Foster 2 (5-25-07)
23. Police Report of Officer Granberg and Lagergren (5-25-07)
24. Police Report of Officer Ichige (5-25-07)
25. Police Report of Officer Kopp (5-25-07)
26. Police Report of Officer Little (5-25-07)
27. Police Report of Officer McBrayer (5-25-07)
28. Police Report of Officer Niehoff (5-25-07)
29. Police Report of Officer Schnutenhaus (5-25-07)
30. Police Report of Officer Smith (5-25-07)
31. Police Report of Officer Warra-Supp (5-25-07)
32. Police Report of Officer West (5-25-07)
33. Police Report of Sergent Woodall (5-25-07)
34. Police Report of Sergent Brown (5-25-07)
35. Police Report of Sergent McLaren (5-25-07)
36. Police Report of Officer Guess (5-25-07)
37. Police Report of Detective Anaya - Supp (5-31-07)
38. Police Report of Detective Anaya - Supp 2 (6-6-07)
39. Police Report of Officer Little - Supp-2 (6-7-07)


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40.     Deposition of Officer Barry Chikayasu
41.     Deposition of Sergent McLaren
42.     Deposition of Officers Woodall
43.     Deposition of Officer Smith
44.     Deposition of Anna Salinas
45.     Deposition of Carlos Salinas
46.     Deposition of witness Howard
47.     Deposition of witness Dahir
48.     Deposition of Dr. O’Hara
49.     Woodall Interview Audio
50.     Chickayasu Statement Audio
51.     Smith and Brown Interview Audio
52.     Lenore Salazar Interview Audio
53.     Plaintiff Expert Report by Dr. Bonnell
54.     Plaintiff Expert Report by Mr. Roger Clark
55.     Appendix A, Summary of Facts
56.     Appendix E Case Specific Materials with Bluebooking


*Case Summary:

The decedent in this case, Mr. Steve Salinas (SS), had a Body Mass Index (BMI) of 38.4

at the time of his autopsy that placed him in the “overweight” category per federal

standards.1 SS was a member of a recognized criminal gang and had a history of illicit

drug use (specifically Phencyclidine, aka PCP) with episodes of agitated and delirious

behavior during intoxication. These previous episodes involved behavior by SS that could

be characterized as bizarre, nonsensical and inappropriate (agitation, catatonia, elevated

heart rate, muscular rigidity, elevated temperature, staying within a burning vehicle after

driving it into a tree, maintaining an odd position in the vehicle during this time). He also

had a history of being arrested for illegal weapon possession. SS was also known to

utilize an “over the counter” medication for enhancement of sexual activity and there is

evidence to support that he used this shortly before the time of his collapse (discarded

package found in motel room after sexual activity had occurred).




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On May 25, 2007, SS and Ms. Lenore Salazar (LS) checked into a motel room together.

At some point, they engaged in sexual activity. Forensic evidence indicates that a

discarded package that contained a sexual enhancer was found in the room during the

investigation consistent with the history of SS and the statement given by LS. The level

of PCP found in SS at autopsy would also indicate that he was under the influence of a

dose that has been associated with lethality at the time of his death.. There were 2

unidentified persons that visited this motel room as recorded on the motel surveillance

camera system contrary to the statement given by LS. Approximately 1.5 hours after this

visit, abnormal noises are heard from the motel room occupied by SS and LS. The noises

are described by others at the motel property as loud thumping sounds and a male voice

“grunting”, yelling profanity and then yelling other non-sensical words. The behavior of

SS at this time was described by LS as “outraged” and his actions included falling into a

table, rolling around on the floor in an agitated state and breaking a window while falling.

The noises were interpreted by several guests as alarming disturbances prompting them to

report or attempt to report them to the motel management and police were summoned.



LS later told investigators later that she had never seen SS act like this (strange, agitated,

“outraged”). Upon arrival of the first police officer (McLaren), it is described that he

could hear loud and unintelligible screaming coming from within the motel room where

SS was. Backup officers and EMS were requested to the scene early in the course of this

call. The occupants of the room did not answer the door when the police officers

announced their presence and requested the door to be opened. Entry was gained when

the officers opened the door through the broken out window.




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Upon opening the door, LS was removed from the room and restrained. SS was found

naked in the room and did not respond to or obey the officers’ commands. A TASER

X26™ ECD was used in probe deployment mode to assist in restraining and controlling

SS. The probes embedded in the left mid-back and the upper left buttock region. This

initial deployment was described as effective and SS fell to the ground. While on the

ground, SS resisted restraint attempts and continued to not follow or respond to the

officers’ commands. SS attempted to bite one of the officers more than once during this

process.2 The ECD was activated several times while SS was on the ground and it is

described that despite this, SS continued to resist significantly. There appear to be 10

attempts at ECD current delivery surrounding the approximate time of this call. It is

unclear if all of these attempts were successful. It is reported that SS showed incredible

strength despite the presence of several officers attempting to restrain him and that he did

not show signs of experiencing pain during the restraint process.3 A witness to the event

was also impressed that SS as a single person appeared to be able to “get the better” of

numerous officers working together before they were able to control him.4 Eventually, SS

was restrained with 2 sets of handcuffs. It is described that even after handcuffing, SS

continued to resist.5 It is also described that after the final ECD electrical charge delivery

attempt and the successful application of handcuffs, SS was breathing/snoring and had a

pulse.6 7 The elapsed time between when the motel room door was opened and the arrival

of EMS at the motel room was approximately 5 minutes (6:39-6:46 pm) and is verified

by surveillance footage. The elapsed time between the first dispatch notification of the




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police to respond to the motel for this disturbance and the arrival of EMS at the motel

room was approximately 14 minutes (6:32-6:46 pm).



The time stamps on the motel surveillance cameras give good approximations for timing

of the events. The cameras show that Sgt McLaren left the motel room at 6:44 pm and

has testified that he left the room quickly after SS was handcuffed. Other officers indicate

that SS was breathing and had a pulse around this time. EMS personnel are shown to

arrive in the room at 6:47 pm and SS is found to be in an asystolic cardiac rhythm at this

time. Resuscitation measures were taken but were unsuccessful. At 7:00 pm, SS is

pronounced dead at the motel.



An autopsy was performed on SS on 5-28-07. The Cause of Death was determined to be

“Cardiopulmonary arrest during a violent struggle in an individual under the influence of

phencyclidine (PCP).” Other significant conditions were hypertensive heart disease,

coronary artery disease, obesity and ECD use. The PCP level at autopsy was 540

nanograms per milliliter (ng/mL) and was described as within the range of lethality. The

Manner of Death was undetermined. The autopsy diagnostic findings included PCP

intoxication, hypertension with cardiomegaly and left ventricular hypertrophy (cardiac

weight 530 grams (g)), moderate to marked atherosclerotic coronary artery disease,

obesity, hepatic steatosis, multiple abrasions/contusions, a broken rib, multiple incised

wounds of the upper extremity and puncture wounds to the back and left buttock from the

ECD probes.




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*Opinion

I have been asked to specifically address the physiologic effects of a TASER ECD

application to humans in this report as well as provide an opinion on certain aspects of

arrest-related sudden death. In this case, there is evidence and supporting law

enforcement documentation that are consistent with a TASER X26 ECD having been

discharged in deployed probe mode to SS during a restraint and control process. The

ECD applications occurred to SS’s posterior side. There was no indication of

involvement of an ECD to the anterior thorax of SS. Specifically, the points of ECD

contact were the left side of the mid-back, 17 inches below the top of the head/4 inches to

the left of midline and in the superior left buttock, 28 inches below the top of the head/4

¼ inches to the left of midline.8 All The ECD applications may not have been completely

effective since SS continued to significantly resist during this time period. All ECD

application attempts occurred within 93 seconds and it is known that the ECD was

activated 10 times.9



Before giving opinion on the specifics of this case, it is important to note that in general,

there is nothing that exists to date scientifically to support a causal connection between

ECD application in humans and sudden, unexpected death. There are several general

conditions that are strongly associated as risk factors in custodial sudden deaths such as

agitated, delirious behavior, underlying cardiomegaly, left ventricular hypertrophy, PCP

abuse and intoxication, and underlying coronary artery disease.10 11 12 13 14 These

conditions are known to be independent of ECD application and all were present in this




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case. Male sexual enhancement supplements have also been associated with sudden

death.15 The exact risk of this has not been clearly defined but it must be brought up in

this case because of SS’s underlying health and use of sexual enhancement

supplementation. It would not be possible to opine that this did not create some risk in

combination with the other factors listed above. This condition is also independent of the

ECD application.



In this unfortunate case of SS, it is important to address the logic of the situation before

getting into the specific physiologic consequences. The issue to consider is whether or

not inappropriate logic is being utilized when examining allegations of a possible

association between ECD use and the sudden death (SD) event. Because the SD event

followed shortly after an ECD was used, it is tempting to draw an association between the

two simply because of their close association by time sequence. This logical fallacy is

known as post hoc, ergo propter hoc (“after this, therefore because of this”). A simple but

obvious example of post hoc, ergo propter hoc logic would be when roosters crow in the

morning - shortly after the rooster crows, the rising of the sun occurs. Using post hoc,

ergo propter hoc logic would lead one to believe that the two events described are related

because they occur closely together in time. The two events are obviously not related and

if the rooster doesn’t crow the sun still rises. The problem with making a simple time

association as the basis for one’s logic is that time association does not necessarily

establish causation. In order to establish causation, many other factors need to be

considered, such as the probability of chance, the inherent diurnal nature of roosters that

causes the rooster to crow in the morning and the fact that the sun will rise every morning




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because of the laws of the solar system. After considering these other factors, it is clear

that the crowing of the rooster and the rising of the sun are not causally related at all.

While this example may seem absurd, I use it to demonstrate an actual error in logic that

mankind has made in the past. It is also applicable to SD cases such as this one since it is

also this type of logic that is wrongly inferred in cases like this without regard to what the

body of science shows.



The scientific process examines individual factors and scrutinizes them to determine if

they are somehow related to the issue in question. This same scientific process also needs

to be applied in cases that attempt to temporally link an ECD application with a SD

event. Failure to do so only yields uninformed and unsupported speculative opinions and

potentially faulty conclusions. Another logical fallacy that comes into play in this type of

situation is that of causal oversimplification or looking to assign causal blame on any

item or tactic that is used while disregarding SS’s underlying health and drug abuse

history. It also disregards SS’s decision to resist and fight with law enforcement officers.



Additionally, the use of this logic causes one to ignore the obvious. While it is true that

SS died in the presence of law enforcement personnel, it is important to remember that

this is only true because their presence was necessary due SS’s erratic, bizarre, agitated

and “outraged” behavior. SS’s own decisions and actions (chronic and acute decision to

use an illicit hallucinogen and embark upon significant strenuous and resistive behavior)

placed him at significant risk of sudden death. It is believed that persons with psychotic

conditions similar to SS are at elevated risk for sudden death in situations that place them




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at elevated physical stress and this has been described in situations involving PCP.16 In

these situations, deaths such as SS’s also occur unattended by law enforcement and may

occur even in the presence of medical professionals. The salient point is that the presence

of law enforcement or use of an ECD is not a dependent variable in these types of deaths.



The concept of inappropriate logic in this case cannot be overstated. Inappropriate logic

is the exact reason why so many people unjustifiably believe that ECD use and SD events

are related. This applies not only to laypersons but also to educated professionals such as

law enforcement officers, city officials, attorneys and physicians. It is very easy to make

these associations when events or concepts are not easily understood. In fact, the concept

of flawed logic as it relates to medical conclusions and also to SD events has been

pointed out in the past.17 18 ECDs and SDs are not simple devices or concepts and

therefore tend to be at high risk for misunderstanding and inappropriate logic. It is

important to keep in mind that to understand the relationship between 3 factors (in this

case, human physiology, SD in humans, and ECD applications), one should have a good

understanding of all. Simply understanding the human body, the ECD, or SD separately

and independently does not necessarily qualify persons to speak intelligently on the 3 in

combination.



Before first considering what occurs at a cellular or base level in human physiology, it is

important to provide information about how a TASER ECD operates. There is often

confusion surrounding this because an ECD, by definition, utilizes low electrical current

delivered, brief duration pulsed electrical charges to accomplish its intended task. Unless




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a person has had specific training in ECD electrical principles, this confusion often leads

to inappropriate assumptions or conclusions. Furthermore, this confusion is often

perpetuated by media sources in the public domain. (e.g. a national, daily publication

read by thousands of people ran a front page article on June 3, 2005 that compared and

incorrectly showed an ECD to have even greater electrical current output than that of the

judicial electric chair used for capital punishment. The reported output of the ECD was

off by a factor of 1 million.)19



I have significant experience in dealing specifically with many of the ECD electrical

principles in my realm of human research and medicine. I have personal experience as an

emergency physician in caring for patients who have experienced a non-ECD associated

SD event several times in my career. Many of these patients have had similarities to the

case in question. In this case, Plaintiffs allege that the ECD caused or contributed to this

death. There are several factors that are necessary for electrical current to cause damage

to the human body. These include quantity of delivered electrical charge, location of

charge delivery, method of delivery, charge density, etc. One aspect that needs to be

discussed is voltage. In laypersons language, voltage is a measure of the pressure that is

pushing electrons down a certain path. This voltage, if high enough, can cause electricity

to “arc” through open space or through clothing. (e.g. in a dry environment when a

person walks across the carpet in socks and goes to touch a metal doorknob, the person

often receive a “static” shock to their hand even before the hand has touched the knob.

This jumping or “arcing” of the shock from the hand to the knob occurs because of the

higher voltage involved, often at least tens of thousands of volts but there is no danger




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here due to the very low delivered electrical charge involved. Amperage is another

component and represents the flow or the total number of electrons flowing per second

along a given path. This component is necessary at a relatively high number to cause

physiologic damage in a human. (e.g., a typical residential wall outlet will only have a

constant output of about 110 volts (V) but up to 16 amperes (A) of sustained electrical

current available. This is why it can be dangerous for humans to come into contact with it

and also why electricity does not arc out of the wall.) By comparison, the TASER X26

ECD used in this case generates a peak arcing (not delivered) voltage of up to 50,000 V

(to be able to arc across a 50 millimeter (mm) air space or through clothing if necessary)

but delivers a peak voltage of only up to about 2,400 V (dependent upon the load) with

average delivered current of approximately 0.0021 A. Perhaps the most pertinent concept

to keep in mind with regard to this case is that higher voltage with very low delivered

charge is not known to be dangerous to humans from a scientific standpoint.



Another more concrete way to understand these concepts is to compare the energy

delivered from a TASER X26 ECD with that of a commonly used medical device, the

emergency cardiac defibrillator which is used by laypersons and medical personnel alike

to deliver life-saving shocks to patients in cardiac-arrest states. Defibrillator energy is

usually characterized in terms of “joules” (J) that is the International System of Units

measurement of energy (mechanical, electrical, or thermal) describing the energy

delivered in a single pulse. It is important to understand that a single J is a very small

amount of energy. Emergency external cardiac defibrillators typically deliver electrical

energy in the range of 150-360 J. The TASER X26 ECD delivers about 0.1 J per pulse.




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The minimum energy recommendation, measured in joules, by the American Heart

Association (AHA) to be used in common medical situations to generate a physiologic

change at a cellular level is at least 1 J/kilogram (Kg) which would be about 65-90 J for

an average adult. Additionally, the AHA recommends only 3 positions of defibrillator

electrode placement to maximize the electrical current reaching the heart to cause an

effect.20 None of these 3 positions resembles the area of probe impact on SS. This is

notable because any allegation of causation in this case needs to be made at least partially

based on ECD energy and probe landing position. The level of energy in a cardiac

defibrillator that is the minimum recommendation by the AHA to effect a physiologic

change is significantly more than what SS was exposed to from the ECD during the

incident in question and is intended to be delivered in a different position and from larger

electrodes than from what SS experienced. There is now a plethora of human data

showing that human exposures to production model ECDs do not yield findings of

cardiac abnormality, as measured by serum biomarkers, electrocardiograms, and

echocardiography (see references below).



It is significant that SS was noted to continue breathing after the final ECD application

and that the noted cardiac arrest rhythm was asystole when evaluated by paramedic

personnel very shortly after noting his distress. These facts do not support the ECD

contributing to his death. It is also notable that a pulse was palpated by officers at the

scene following the altercation. While sufficiently strong delivered electricity to the

heart can lead to some pulsatile arrhythmias, it is understood in medicine that if an

electrical current causes death by electrocution, it does so by inducing 1 of 2 very specific




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rhythms known as ventricular fibrillation (VF) or asystole.21 Since asystole is only

expected after massive electrical current exposures (such as a lightning strike), it is not

what we expect as a result of applied electricity of small magnitude as in this case. VF

would be the expected result from an ECD application and this would not result in a

palpable pulse or continued respiratory activity as occurred in this case. Therefore, there

is no support for the ECD causing a situation of cardiac arrest in this case. Additionally,

death by electrocution is generally known to be relatively instantaneous. Electricity is not

stored up in the body and somehow released at some later time causing a cardiac arrest.

The fact that SS exhibited signs of life after the final ECD application and that he

continued to breathe and have a pulse do not support a causal connection. His death as

described is, however, quite consistent with those that are due to extreme acidosis and

catecholamine surge states induced by delirious and continued resistive behavior.22 This

mechanism of death is very likely in this case and is also complicated by the hypertensive

disease, left ventricular hypertrophy and coronary artery disease found at autopsy. The

occurrence of these states and pre-existing conditions were totally independent of the

application of an ECD.



From a human physiologic standpoint, there is no direct harm that has been found to be

associated with the delivered electrical charge of an ECD exposure. There have been

several human studies looking at many factors of cellular physiology associated with

ECD exposure and no dangerous short or long-term findings have been apparent.23 24 25 26
27 28 29 30 31 32 33 34 35
                             Some of these studies were conducted with discrete 5-second

exposures and some were conducted with exposure times that were even longer. Some




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were also conducted in states of physiologic acidosis and catecholamine surge as well as

utilizing ECD exposure locations that would be considered by experts to be more

concerning than the location that SS received his exposure. This is significant because

even when exposed in these areas, no deleterious effect was found. The above studies

have been conducted in corporately sponsored research as well as independent and

government funded research groups and the findings have been similar and consistent.

Most notably, there has been no study with significant inconsistencies. Furthermore, the

studies from Ho et al have utilized human subjects so there is the high likelihood of better

correlation between this type of modeling than studies where animal models have been

utilized. This point has been acknowledged by animal researchers in this field.36



With regard to pertinent animal model research, it is relevant to discuss this for the sake

of thoroughness and to be fair. There have been studies using animal models

(particularly swine) that have demonstrated concerning results and have led to cautious

conclusions.37 38 39 It is important to recognize this animal research for what it is.

Animal models allow researchers to examine questions that ethically or realistically could

not be done utilizing human models. Additionally, animal research is valued in science

as it often points the scientific investigatory process in certain directions. However, there

are restrictions to this type of research when examining ECDs that need to be understood.

First, ECDs are designed to be used on humans. In the case of SS, the ECD application

was made to a human. Second, the animal research realm introduces a fair amount of

artificiality to the research process. For example, due to requirements of humaneness,

animal research of this type can usually only be done on animals that are under general




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anesthesia. In this condition, animals do not breathe without the assistance of life-

support ventilator machinery. In the animal ECD studies cited, during ECD exposure, the

animal was taken off of the ventilator or the ventilator was stopped during ECD

exposure. One of the results of this was that the animals did not receive life-support

breathing while they were in a state that required it. Another result was that ECD

applications could cause fatal heart rhythms in some of the animals under certain

conditions. These results have received much discussion by others since it is believed

that this was the first indication that ECD exposure prevented breathing and caused the

heart to stop. This was touted as an induced suffocation or cardiac arrest mechanism by

which ECDs were causing SD events. Subsequent human studies by Ho, et al (as

referenced above) have disproven this. These are good examples of how animal research

can lead to inaccurate conclusions when attempting to extrapolate animal study findings

to human application. Additional concerns about using animal studies to form

conclusions for human application include the weight discrepancy between the animals

used and the typical human exposed to an ECD as well as anatomic differences and

artificial anatomic manipulations of the animals.40 Some authors of animal studies are

aware of these limitations and have written in the literature about their concerns in order

to caution others from drawing conclusions that are too far-reaching from their work.41



The finding that humans uniformly have an increase in minute ventilation during ECD

exposure is significant.24 In ARDs such as this case involving SS, there are often

allegations of breathing restriction made. This is of concern because in addition to the

obvious mechanism of suffocation, restriction of breathing could be harmful if the person




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is in an exhausted physiologic state. In an exhausted condition, build-up of metabolic

waste products (known as acidosis) requires that a person be able to increase their

ventilatory status as a way to compensate for this. In doing so, it allows the waste product

of carbon dioxide to be expired at a greater rate than normal and this allows their acidotic

physiologic state to be buffered. That ECD exposure allows this respiratory compensation

to occur makes this a very reasonable and logical tool to be used in situations such as this

from a medical safety standpoint.



Additionally, when examining states of acidosis or catecholamine surge, it is believed

that in states of extreme acidosis or extreme catecholamine surge a person is at elevated

risk of cardiovascular collapse and subsequent death most likely from an arrhythmic

event. ECD research referenced above indicates that when ECDs are applied to humans

in acidotic states, the ECD does not create a situation of acidosis any differently than

continued exertion. This data demonstrates very well that the application of an ECD in a

human with this physiologic state uniformly does not worsen the acidosis condition that

is already present. Furthermore, emerging research in this area indicates that the ECD is

among the safest method of controlling persons from an acidosis and catecholamine surge

perspective.42 43 In fact, this research also indicates that volitional actions by the out of

control subject are the most physiologically detrimental and lead to harmful conditions in

very short periods of time. In the case of SS, this research supports that his own actions

of continued agitation and resistance were the most harmful to himself. This is especially

true when coupled with his underlying diseases and his election to abuse an illicit drug




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that has been associated with worsening acidosis/catecholamine surge states.44 This

behavior markedly worsens acidosis whereas ECD application does not.



In my opinion, the metabolic acidosis that was present in SS around the time of his

collapse is significant. By definition, metabolic acidosis is a condition that is

physiologically present whenever there is significant exertion being performed. SS was

most certainly in this state of physiology at the time of his collapse based on the account

of his behavior in the motel room. This was worsened as he volitionally continued to

resist against and struggled with the officers called to control the situation. This feature of

agitation, resistance and struggling has been correlated with SD in the past.22 I have been

able to induce profound metabolic acidosis in humans in the lab with as little as 45

seconds of exertion whereas SS exerted himself for many minutes during this event. SS’s

notable resistive behavior demonstrated a person with an elevated metabolic demand that

was significant and defined his condition of metabolic acidosis. This condition is also

known to be an associated risk for a SD event that is independent of the application of an

ECD application.



From a common sense standpoint, there is compelling evidence (in terms of sheer

numbers of exposures) that an ECD exposure does not constitute a dangerous situation.

This is based on the simple numbers of exposures on record with the TASER ECD

manufacturer. As of April 30, 2010, the manufacturer recognizes over 1,064,106 ±7%

volunteer human ECD exposures.45 There have been no complaints of death following

these exposures. This is significant if taken in the context of how a medical device or




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therapeutic drug would be ascertained to be safe to use on the general public in this

country. In order to deem a medical device or therapeutic drug to be safe for public use,

it must pass a series of human clinical testing trials. These trials typically amount to less

than a few thousand subjects without demonstrating harm. TASER ECDs have well

surpassed this mark in terms of numbers with no reported consistent, associative

complaints.



While there is not a clear existence of association between ECD use and SD, there is a

clear existence of association between a certain profile of person at risk for SD events.

This has been demonstrated in several research studies and texts and SS is represented by

this profile in several ways including gender, body mass index, underlying cardiac

disease with extreme exertion/agitation preceding sudden collapse.46 47 48 In this case, SS

had a pre-disposing, underlying health condition (left ventricular hypertrophy,

hypertension and coronary artery disease). In addition, SS had the very significant factor

of PCP in his system that has been previously discussed. I agree with the medical

examiner’s opinion on this in the autopsy report that discusses the PCP level and that this

level alone has been associated with lethality. When coupled with the significant

exertional stress SS elected to participate in with the police, he alone placed himself at

high risk for sudden cardiac death due to cardiac arrhythmia. All of these conditions were

present in SS at his time of collapse and are independent of ECD application. To assign

blame to the ECD in this situation is an over-simplification of the totality of SS’s history,

condition and lifestyle choices. It fails to address the other factors of importance such as

prior health history, drug abuse and volitional resistance.




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Additionally, it is important to note that situations of having to control bizarre, agitated

and violent persons with an ECD are not without risk. These situations, by definition, are

always going to involve a high risk for significant injury or death to the subject, the law

enforcement officers, or both regardless of tools or tactics used. It is unreasonable to have

law enforcement authorities solve this very volatile situation with the expectation of zero

risk to the parties involved. This concept should not be underestimated and the inherent

risk in this does not stem from the ECD as a tool. It stems from the volitional actions

(such as actively resisting and being violent), as well as the underlying health and

condition of the person (such as having heart disease or using PCP). When considering

alternative means of control that are available (such as manual force, impact weapons or

a firearm) the ECD has a risk:benefit ratio that would appear to be acceptable given the

nature of the situation and the results of human study in this subject area.



It is my opinion that SS was in a state of Excited Delirium, metabolic acidosis and

catecholamine surge at the time of his death and this was a direct cause of his death. It is

also my opinion that SS was at significant risk for a terminal arrhythmic event brought

about by the stress of his elective physical resistance and from his underlying coronary

artery disease and PCP intoxication. Additionally, the PCP level found in his system at

autopsy all by itself was likely to be lethal, absent any of the other factors. SS represents

a person with multiple factors associated with SD (male gender, obese body mass index,

underlying coronary artery disease, lethal PCP level present, exertional and resistive

behavior) and all of these are completely independent of the application of an ECD.




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Conclusions

Based on the available ECD human research, supported by years of consistent electrically

induced human physiological effects research, and my review of the totality of the

documentation listed above, as well as my professional education, experience and

background, it is my opinion, to a reasonable degree of medical certainty or probability,

that the use of the TASER ECD did not cause or contribute to SS’s death.



It is also my opinion that SS’s pre-existing coronary artery disease, hypertension, left

ventricular hypertrophy, lethal level of PCP, and his resistive non-compliance contributed

to his death by placing him at an elevated risk for a sudden arrhythmic event during his

excited delirium state. SS’s elective decision to abuse PCP and attempt to resist the police

officers contributed to putting him at significantly elevated risk for a subsequent

profound metabolic acidosis, catecholamine surge and fatal cardiac arrhythmia.




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4
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5
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6
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Jeffrey D. Ho, M.D., FACEP, FAAEM
EDUCATION:
          DEGREE - Associate of Science (Criminal Justice/Law Enforcement)
           Inver Hills Community College
           Inver Grove Heights, Minnesota
           March, 2005

          FELLOWSHIP – Emergency Medical Services/Prehospital Care
            Hennepin County Medical Center
            Minneapolis, Minnesota
            July, 1995 – June, 1996

          RESIDENCY – Emergency Medicine
           Hennepin County Medical Center
           Minneapolis, Minnesota
           May, 1992 – June, 1995

          DEGREE – Doctor of Medicine
           Loma Linda University School of Medicine
           Loma Linda, California
           August, 1988 – May 1992

          DEGREE – Bachelor of Science (Biology/Zoology)
           Loma Linda University College of Arts and Sciences
           Riverside, California
           September, 1984 – June, 1988

HONORS and AWARDS:
          November, 2007-2009 – Pistol Expert Award
           Meeker County Sheriff’s Office, Litchfield, Minnesota
           *Awarded for mastery and marksmanship during firearm qualification.

          September, 2008 – Sheriff’s Office Achievement Award
            Meeker Count Sheriff’s Office, Litchfield, Minnesota
            *Awarded annually for commitment to duty, demonstrated professionalism and
            overall leadership abilities with the Meeker County Sheriff’s Office and the
            community. This award included a lifesaving action while on-duty.

          January, 2008 – Rescue Service Award
            Minneapolis Police Department, Minneapolis, Minnesota
            *Awarded for scene rescue effort provided during the Interstate 35W bridge collapse.




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HONORS and AWARDS (continued):
           January, 2007 – Top Doctor Award in Emergency Medicine
             11th Annual MPLS/St. Paul Magazine, Minneapolis, Minnesota
             *Presented annually to Twin City physicians upon receiving top nomination by their
             peers.

           September, 2006 – Mark Rathke, MD Lecture Award
             21st Annual MN EMS Medical Director Conference, Alexandria, Minnesota
             *Presented annually to a distinguished lecturer in the area of local EMS in honor of a
             previous EMS physician who served the profession with dedication.

           April, 2005 – Outstanding Accelerated Program Student Award
            Inver Hills Community College, Inver Grove Heights, Minnesota
            *Awarded by the college faculty in recognition of outstanding academic achievements
            in the accelerated law enforcement training program.

           May, 2003 – Archibald Bush Foundation Medical Fellowship
            Archibald Bush Foundation, St. Paul, Minnesota
            *Competitively awarded as a career enhancement grant to allow me to pursue cross-
            training in law enforcement.

           June, 2002 –Ernest Ruiz Teaching Award
             Hennepin County Medical Center, Minneapolis, Minnesota
             *Awarded by the senior residents in Emergency Medicine in recognition of
             outstanding teaching contributions within the residency training program.

           May, 2002 – Chief’s Award of Merit
            Police Department, Minneapolis, Minnesota
            *Awarded in recognition of outstanding leadership provided to the tactical paramedic
            program of the Emergency Response Unit.

           December, 2001 – Service Award
            Police Department, Minneapolis, Minnesota
            *Awarded in recognition of service to the Emergency Response Unit.

           January, 2000 –Meritorious Service Award
             Fire Department, Minneapolis, Minnesota
             *Awarded in recognition of meritorious and heroic service during the extrication and
             rescue of an accident victim resulting in the saving of a human life.

           November, 1999 –Fellow of the American College of Emergency Physicians
            ACEP Annual Meeting, Las Vegas, Nevada
            *Fellow status is granted only after meeting stringent training, teaching and
            certification standards.

           July, 1997 – Best Oral Presentation of Original Research Award
             National Association of EMS Physicians Annual Meeting, Lake Tahoe, Nevada
             *Awarded for presentation of a research project conducted during fellowship.

           May, 1997 – Award of Recognition
            Dakota County Technical School, Dakota County, Minnesota
            *Awarded for providing mentorship in emergency medicine to high school students
            considering health care careers.




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HONORS and AWARDS (continued):
           June, 1995 – James Andersen Scholarship Award
             Hennepin County Medical Center, Minneapolis, Minnesota
             *Annually awarded to a single senior resident who demonstrates excellence in
             leadership and clinical abilities in emergency medicine.

           March, 1995 – University of Minnesota School of Medicine Resident Physician
           Distinguished Teaching Award Nominee
             University of Minnesota School of Medicine, Minneapolis, Minnesota
             *Nominated by the University of Minnesota senior medical students for excellence in
             academic and clinical teaching.

           June, 1994 – Emergency Medicine Chief Resident
             Hennepin County Medical Center, Minneapolis, Minnesota
             *Selected by my colleagues to maintain and promote intra and interdepartmental
             leadership, rapport and education through a wide variety of administrative
             responsibilities.

           February, 1993 – Resident Association Representative Elect
             Hennepin County Medical Center, Minneapolis, Minnesota
             *Elected by my peers to serve a 2 year term to represent my residency at the national
             level to the Emergency Medicine Residents Association of the American College of
             Emergency Physicians.

           May, 1991 – California Medical Association Student Representative Elect
            Loma Linda University School of Medicine, Loma Linda, California
            *Elected by a state planning agency to serve on the Association’s Committee for
            Emergency and Disaster Preparedness.

           March, 1989 – CIBA/GEIGY Award
            Loma Linda University School of Medicine, Loma Linda, California
            *Awarded annually to a medical student for outstanding community service in medical
            related projects.

           May, 1988 – Cum Laude Graduate
            Loma Linda University College of Arts and Sciences, Riverside, California

           May, 1985 through May, 1988 – Dean’s List of Academic Achievement
            Loma Linda University College of Arts and Sciences, Riverside, California

           January, 1988 – Carnation Corporation Scholarship
             Loma Linda University College of Arts and Sciences, Riverside, California
             *For providing community service while maintaining standards of academic
             excellence.

           January, 1986 – Howard O. Welty Scholarship
             Loma Linda University College of Arts and Sciences, Riverside, California
             *For achieving standards of academic excellence.

           April, 1984 – Loma Linda University Academic Scholarship
            Orangewood Adventist Academy, Garden Grove, California
            *For academic excellence prior to entering undergraduate study

ACADEMIC APPOINTMENTS:
           June, 2007 through Present – Associate Professor of Emergency Medicine


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           University of Minnesota School of Medicine
           Twin Cities Campus, Minneapolis, Minnesota

           July, 1996 through May, 2007 – Assistant Professor of Emergency Medicine
           University of Minnesota School of Medicine
           Twin Cities Campus, Minneapolis, Minnesota

CLINICAL EXPERIENCE:
           July, 1996 through Present – Attending Faculty, Emergency Medicine
           Hennepin County Medical Center (Level 1 Trauma Center)
           Hennepin Faculty Associates, Minneapolis, Minnesota

           June, 1996 through June, 1998 – Courtesy Staff Physician, Emergency Medicine
           Ridgeview Medical Center, Waconia, Minnesota

           November, 1993 through June, 1997 – Courtesy Staff Physician, Emergency Medicine
           District Memorial Hospital, Forest Lake, Minnesota
           United Hospital, St. Paul, Minnesota
           Northfield Hospital, Northfield, Minnesota
           Emergency Practice Associates, Faribault and Hibbing, Minnesota

MEDICAL DIRECTOR EXPERIENCE:
           November, 2009 through Present – Medical Director
           Meeker County Sheriff’s Office, Minnesota
           *Direct a law enforcement based EMS program of 60 personnel.

           July, 2009 through Present – Medical Director
           TEMPO™ Course (Tactical Emergency Medical Peace Officer Course)
           Minneapolis, Minnesota
           *Direct a program of EMS instruction specific to law enforcement personnel.

           October, 2006 through July, 2007 – Expert Medical Consultant
           City of Oakland, California
           *Provide a comprehensive report on the human effects of conducted electrical weapons
           for the city administration as they move to implement these devices into their police
           department.

           April, 2006 through 2009 – Medical Director
           Fire Department, St. Louis Park, Minnesota
           *Direct a fire-service based EMS program of 30 personnel.

           March, 2006 through Present – Deputy Medical Director
           Minnesota Task Force-1 Urban Search and Rescue Team, Minneapolis, Minnesota
           *Provide leadership, operational ability and expert medical advice for a statewide
           specialized rescue team.




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MEDICAL DIRECTOR EXPERIENCE (continued):
           June, 2009 through Present – Medical Director
           August, 2004 through Present – Expert Medical Consultant
           TASER International, Scottsdale, Arizona
           *Provide medical direction, research expertise and expert medical advice for a company
           that manufactures conducted electrical weapons for law enforcement, military and
           civilian application.

           January, 2003 through Decmber, 2003 – Medical Director
           Medevac, Inc., Minneapolis, Minnesota
           *Provide medical oversight, treatment protocols, standing orders, equipment and
           product evaluation for a company that provides basic life support instruction, automatic
           external defibrillator equipment and training and limited event emergency medical
           services.

           September, 2002 through November, 2003 – Chief Medical Officer
           MN-1 Disaster Medical Assistance Team, Minneapolis, Minnesota
           *Direct and participate on a team of medical personnel tasked for deployment by the
           Federal Office of Emergency Preparedness to national needs for emergency medical aid.

           September, 1997 through May, 2001 – Medical Director & Tactical Physician
           Police Department Emergency Response Unit, Minneapolis, Minnesota
           *Direct and participate on a team of 10 medical personnel assigned to the SWAT team.

           July, 1998 through Present – Director of EMS Fellowship Program
           Hennepin County Medical Center, Minneapolis, Minnesota

           May, 1997 through Present – Medical Director of Public Safety/Paramedic Services

           Fire Department, Edina, Minnesota
           *Direct a fire-service based paramedic program of 25 personnel.

           July, 1996 through Present – Associate Medical Director of Paramedic Services
           Hennepin County Ambulance Service, Minneapolis, Minnesota
           *Assist with the direction of an urban, third-service based paramedic program of 110
           personnel.

           July, 1996 through Present – Director of Resident EMS Education
           Hennepin County Medical Center, Minneapolis, Minnesota

           July, 1996 through Present – Medical Director of Spectator Services
           Hubert H. Humphrey Metrodome, Minneapolis, Minnesota
           *Direct a stadium first-responder team of 60 personnel.

           July, 1996 through July, 1998 – Medical Director of Spectator Services
           Minneapolis Children’s Grand Prix, Minneapolis, Minnesota
           *Directed a fully enclosed race track based first-responder team of 20 personnel.




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OTHER EXPERIENCE:
          December, 2006 through Present – Deputy Sheriff
          Meeker County Sheriff’s Office, Meeker County, Minnesota
          *Responsible for providing law enforcement services and protection of life and property
          to the surrounding community.

          January, 2006 through December, 2006 – Police Officer
          Dassel Police Department, Dassel, Minnesota
          *Responsible for providing law enforcement services and protection of life and property
          to the surrounding community.

          October, 2005 through Present – Examiner
          American Board of Emergency Medicine, Lansing, Michigan
          *Responsible for administering the oral examination to candidates pursuing board
          certification in emergency medicine.

          July, 2005 through January, 2007 – Police Officer
          Buffalo Lake Police Department, Buffalo Lake, Minnesota
          *Responsible for providing law enforcement services and protection of life and property
          to the surrounding community.

          May, 1989 through June, 1990 – Clinic Director
          Social Action Corps Clinic, Rialto, California
          *Responsible for directing the efficient operation of a student-run medical clinic which
          provided low cost health care to an indigent population.

          February, 1986 through May, 1988 – Fire Apparatus Engineer
          Riverside County Fire Department, Riverside County, California
          *Provided emergency medical service and fire suppression activities to the surrounding
          community.

          November, 1984 through February 1986 – Firefighter
          Riverside County Fire Department, Riverside County, California
          *Provided emergency medical service and fire suppression activities to the surrounding
          community.

          November, 1984 through May, 1988 – Firefighter
          Home Gardens Volunteer Rescue Squad, Home Gardens, California
          *Provided emergency medical and rescue services to the surrounding community on a
          volunteer basis.




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MILITARY EXPERIENCE:
           June, 1992 through September, 1998 – Army National Guard, Minnesota
           Major, Medical Corps
           434th Main Support Battalion and STARC Detachment 7
           Cottage Grove and Minneapolis, Minnesota
           Honorable Discharge

           May, 1989 through June, 1992 – Army National Guard, California
           Second Lieutenant, Medical Service Corps
           143rd Evacuation Hospital
           Los Alamitos, California
           Honorable transfer to Minnesota

           Military Awards Earned:
           1. Army Reserve Component Achievement Award (1997)
           2. Minnesota State Service Award (1997)
           3. Army Award of Accomplishment (1996)
           4. Army Service Award (1995)
           5. National Defense Service Medal (1993)
           6. Humanitarian Service Award (1989)
           7. California Medal of Merit (1989)

ACADEMIC REVIEW EXPERIENCE:
           2009-Current Prehospital Emergency Care (Invited Reviewer)
           2009 Academic Emergency Medicine (Invited Commentator)
           2008-Current EMS1.com (EMS Medical Director Reviewer of academic content)
           2008-Current Academic Emergency Medicine (Invited Reviewer)
           2007-2008 Southern Medical Journal (Invited Reviewer)
           2007-Current American Journal of Emergency Medicine (Invited Reviewer)

ACADEMIC TEXT EDITORSHIP:
           Ho JD and DW Dawes (eds). Atlas of Conducted Electrical Weapon Wounds and
           Forensic Analysis. New York: Springer Science Media, 2010 In Press.

           Kroll MW and JD Ho (eds). TASER Electronic Control Devices: Physiology, Pathology,
           and Law. New York: Springer Science Media, 2009.

ACADEMIC TEXT CHAPTERS:
           JD Ho. “Electrocardiographic Effects of the CEW” (ch. 10). TASER Conducted Electrical
           Weapons: Physiology, Pathology, and Law. Ed. MW Kroll and JD Ho. New York:
           Springer Science Media, 2009.

           JD Ho. “Serum and Skin Effects of CEW Application” (ch. 11). TASER Conducted
           Electrical Weapons: Physiology, Pathology, and Law. Ed. MW Kroll and JD Ho. New
           York: Springer Science Media, 2009.

           Moscati R and JD Ho. “Alcohol and the CEW” (ch. 19). TASER Conducted Electrical
           Weapons: Physiology, Pathology, and Law. Ed. MW Kroll and JD Ho. New York:
           Springer Science Media, 2009.

           Lindquist MD and JD Ho. “Safety and Scene Size-Up” (ch. 9), “Documentation and
           Communication” (ch. 17), and “Teamwork and Operational Interface”(ch. 52). The
           Paramedic: A Comprehensive Textbook. Ed. W Chapleau, A Burba, and P Pons.
           Dubuque: McGraw-Hill Higher Education, 2008.
ACADEMIC TEXT CHAPTERS (continued):


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           Ackermann B and J Ho. “Continuum of Force.” (ch. 4) Tactical Emergency Medicine. Ed.
           R Schwartz, J McManus and R Swienton. Lippincott, Williams and Wilkins, 2007.

PUBLICATIONS:
           Ho JD, Dawes DM, Reardon RF, Strote SR, Kunz SN, Nelson RS, Lundin EJ, Orozco BS
           and JR Miner. Human cardiovascular effects of a new generation conducted
           electrical weapon. Forensic Sci Int, 2010; In Press.

           Dawes DM, Ho JD, Reardon RF, Sweeney JD and JR Miner. The physiologic effects of
           multiple simultaneous electronic control device discharges. West J Emerg Med,
           2010;11:49‐56.

           Ho JD, Dawes DM, Nelson RS, Lundin EJ, Ryan FJ, et al. Human acidosis and
           catecholamine evaluation following simulated enforcement of “use of force” encounters.
           Acad Emerg Med, 2010;In Press.

           Moscati R, Ho JD, Dawes DM and JR Miner. Physiologic effects of prolonged conducted
           electrical weapon discharge in ethanol-intoxicated adults. Am J Emerg Med, 2010;In Press.

           Ho J, Clinton J, Lappe M, Heegaard W, Williams M and J Miner. Introduction of the
           conducted electrical weapon into a hospital setting. J Emerg Med, 2010;In
           Press:doi:10.1016/j.jemermed.2009.09.031

           Ho J. Best practices in TASER targeting. POLICE, 2010; January issue, 42-47.

           Ho J, Dawes D, Cole J, Hottinger J, Overton K and J Miner. Corrigendum to “Lactate and
           pH evaluation in exhausted humans with prolonged TASER X26 exposure or continued
           exertion”. Forensic Sci Int, 2010;195:169.

           Bahr J, Lapine A and J Ho. The utility of point-of-care carbon monoximetry in fireground
           emergency medical services rehabilitation operations. Prehosp Emerg Care, 2010;14 (suppl
           1):#98.

           Ho J, Dawes D, Heegaard W, Calkins H, Moscati R and J Miner. Absence of
           electrocardiographic change following prolonged application of a conducted electrical
           weapon in physically exhausted adults. J Emerg Med, 2010;In Press.

           Dawes D, Ho J, Kroll M and J Miner. Electrical characteristics of an electronic control
           device under a physiologic load: a brief report. PACE, 2010;In Press.

           Dawes D, Ho J, Reardon R and J Miner. Echocardiographic evaluation of TASER X26
           probe deployment into the chests of human volunteers. Am J Emerg Med, 2010;28:49-55.

           Ho J, Dawes D, Heegaard W and J Miner. Human Research Review of the TASER
           Electronic Control Device. Conf Proc IEEE Eng Med Biol Soc, 2009;1:3181-3183.

           Ho J, Dawes D, Lundin E and J Miner. Comparison of Acidosis Markers Associated with
           Law Enforcement Applications of Force. Ann Emerg Med, 2009;54:S40.

           Lundin E, Dawes D, Ho J, Ryan F and J Miner. Catecholamines in Simulated Arrest
           Scenarios. Ann Emerg Med, 2009;54:S98-S99.

PUBLICATIONS (continued):



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           Ho J, Heegaard W, Dawes D and J Miner. Introduction of a Conducted Electrical
           Weapon in a Hospital Setting: The First 8 Months of Use. J Emerg Med, 2009;37:209.

           Dawes D, Ho J, Reardon R and J Miner. The Physiologic Effects of Multiple
           Simultaneous Electronic Control Device Discharges. J Emerg Med, 2009;37:209-210.

           Dawes D, Ho J and J Miner. The Neuro-Endocrine Effects of the TASER X26 Conducted
           Electrical Weapon. J Emerg Med, 2009;37:210.

           Ho J, Dawes D, Cole J, Hottinger J, Overton K and J Miner. Lactate and pH Evaluation in
           Exhausted Humans with Prolonged TASER X26 Exposure or Continued Exertion.
           Forensic Sci Int, 2009;190:80-86.

           Ho J. Can There Be Truth About TASERs? (Commentary) Acad Emerg Med, 2009:16:771-
           773.

           Ho J, Dawes D, Cole J, Reardon R, Hottinger J, Terwey K and J Miner. Effect of a
           conducted electrical weapon exposure on a methamphetamine intoxicated animal model.
           Acad Emerg Med, 2009;16:S222.

           Ho J, Dawes D, Bultman L, et al. Prolonged TASER use on exhausted humans does not
           worsen markers of acidosis. Am J Emerg Med, 2009;27:413-418.

           Ho J and D Dawes. “Research Update on the TASER Electronic Control Device.” 5th
           European Symposium on Non-Lethal Weapons. Fraunhofer Institut Chemische
           Technologie. Karlsruhe: DWS Werbeagentur und Verlag GmbH, 2009.

           Heegaard W, Hildebrandt D, Reardon R, Plummer D, Clinton J and J Ho. Prehospital
           ultrasound diagnosis of traumatic pericardial effusion. Acad Emerg Med, 2009;16:364.

           Heegaard W, Ho J and D Hildebrandt. The prehospital ultrasound study: Results of the
           first six months. Prehosp Emerg Care, 2009;13:139.

           Ho J. Human Cardiorespiratory and acid/base effect of a civilian-conducted electrical
           weapon. Prehosp Emerg Care, 2009;13:94-95.

           Dawes D, Ho J. Letter to the Editor, “Fortuitous therapeutic effect of TASER shock”
           misleading (On Richards #2008-267). Ann Emerg Med, 2009;53:286-287.

           Ho J, Heegaard W, Dawes D, Natarajan S, Reardon R and J Miner. Unexpected arrest-
           related deaths in America: 12 months of open source surveillance. West J Emerg Med,
           2009;X:68-73.

           Dawes D, Ho J and J Miner. The neuroendocrine effects of the TASER X26: A brief
           report. Forensic Sci Int, 2009;183:14-19.

           Ho J, Dawes D, Reardon R, et al. Echocardiographic evaluation of a TASER X26
           application in the ideal human cardiac axis. Acad Emerg Med, 2008;15:838-844.

           Hick J, Ho J, et al. Emergency medical services response to a major freeway bridge
           collapse. Disaster Medicine and Public Health Preparedness, 2008;2:S17-S24.

PUBLICATIONS (continued):
           Ho J, Miner J, Dawes, D, et al. Reply to Letter (Conflict of interest in research by A
           O’Brien). Am J Emerg Med, 2008;26:504-505.


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         Ho J, Dawes D. Weapon retention in the home. Cop to Cop News 2008;5(issue 2).

         Ho J, Lapine A, Joing S, et al. Confirmation of respiration during trapezial conducted
         electrical weapon application. Acad Emerg Med, 2008;15:398.

         Ho J, Dawes D. The TASER device and custodial death. Cop to Cop News 2008;5(issue 1).

         Ho J. Rhetoric vs. Reality, The Medical Effect of TASERs (commentary). Emerg Med News
         2008; 30:4, 6.

         Ho J, Dawes D: Influenza Issues. Cop to Cop News 2007;4(issue 4).

         Ho J, Hick J, Heegaard W. Physician Perspective of the 35W Bridge Collapse: A Tragedy
         to Learn From. Metro Doctors 2007; Nov/Dec:18-19.

         Dawes D, Ho J, Johnson M, et al. 15-Second conducted electrical weapon exposure does
         not cause core temperature elevation in non-environmentally stressed resting adults.
         Forensic Sci Int 2008;176:253-257.

         Ho J, Dawes D: The Diabetic Dilemma. Cop to Cop News 2007;4(issue 3).

         Ho J. Are TASERS Really Non-Lethal? POLICE 2007;31:32-38 and New South Wales Police
         News 2007;87:15-17.

         Ho J, Dawes D, Johnson M, et al. Impact of Conducted Electrical Weapons in a Mentally
         Ill Population: A Brief Report. Am J Emerg Med 2007;25:780-785.

         Dawes D, Ho J. Staph on the streets – Keeping infection free. 24/7 Cop to Cop News
         2007;4(issue 2):10.

         Ho J, Johnson M, and D Dawes. “The state of current human research and electronic
         control devices.” Nonlethal Weapons: Fulfilling the Promise? Fraunhofer Institut
         Chemische Technologie. Karlsruhe: DWS Werbeagentur und Verlag GmbH, 2007.

         Ho J, Heegaard W and D Brunette. Successful transcutaneous pacing in 2 severely
         hypothermic patients. Ann Emerg Med 2007;49:678-681.

         Ho J, Dawes D, Bultman L, et al. Respiratory effect of prolonged electrical weapon
         application on human volunteers. Acad Emerg Med, 2007;14:197-201.

         Ho J and R Scharbach. Dispositifs Taser et effets physiologiques sur l’homme. La Revue des
         SAMU 2006; speciale Septembre:260.

         Ho J. Are TASERS really non-lethal? POLICE 2007; 31:32-38.

         Ho J. How to respond to excited delirium. POLICE 2007;31:28-30.




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PUBLICATIONS (continued):
           Ho J, Miner J, Lakireddy D, Bultman L and W Heegaard. Cardiovascular and physiologic
           effects of conducted electrical weapon discharge in resting adults. Acad Emerg Med
           2006;13:589-595.

           Ho J. Some More Food for Thought on the Current TASER Device Literature. American
           College of Emergency Physicians Tactical EMS Interest Group Newsletter 2005; 3rd Quarter.

           Ho J. Sudden In-Custody Death. POLICE August 2005; 29:46-56.

           Martel M, Miner J, Fringer R, Sufka K, Miamen A, Ho J, et al: Discontinuation of
           Droperidol for the Control of Acutely Agitated Out-of-Hospital Patients. Prehosp Emerg
           Care 2005; 9:44-48.

           Hick JL and JD Ho. [Case Report] Ketamine chemical restraint to facilitate rescue of a
           combative “jumper”. Preshosp Emerg Care 2005;9:85-89.

           Ho J. Last Night (reflections piece). Acad Emerg Med 2003; 10:1023.

           Ho J, Lindquist M, Bultman L, Torstenson C. Apathy is not Welcome Here (editorial).
           Prehosp Emerg Care 2003; 7:414-416.

           Ho J, Conterato M, Mahoney B, et al. [Case Report] Field Extremity Amputation with
           Subsequent Cardiac Arrest. Prehosp Emerg Care 2003; 7:149-153.

           Ho J, Lindquist M. The Time Saved with the Use of Emergency Warning Lights and
           Siren While Responding to Requests for Medical Aid in a Rural Environment. Prehosp
           Emerg Care 2001; 5:159-162.

           Ho J. Response vs. Transport Times (letter to ed.). Emerg Med News 2000; 22:38.

           Ho J. Misplaced Tubes (letter to ed.). Prehosp Emerg Care 2000; 4:202.

           Ho J. Tactical EMS Team Contributions. Minneapolis Police Department After Action Report
           for International Society of Animal Geneticists Mass Gathering Incident; July, 1999.

           Reed D, Gough J, Ho J, et al. Prehospital Consideration of Sildenafil-Nitrate Interactions.
           Prehosp Emerg Care 1999; 3:306-309.

           Ho J. Lights and Sirens or Silence? (commentary). Emerg Med News 1999; 21:2, 36 .

           Ho J, Casey B. Emergency Warning Lights and Sirens (reply to letter). Ann Emerg Med
           1999; 34:114-115.

           Ho J, Casey B. The Time Saved With the Use of Emergency Warning Lights and Sirens
           While Responding to Requests for Emergency Medical Aid. Ann Emerg Med 1998; 32:585-
           588.

           Ho J, Held T, Heegaard W, et al. Automatic External Defibrillation and its Effects on
           Neurologic Outcome in Cardiac Arrest Patients in an Urban Two-Tiered EMS System.
           Prehosp Disaster Med 1997; 12:284-287.

PUBLICATIONS (continued):


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          Green S, Rothrock S, Ho J, et al. Failure of Adjunctive Bicarbonate to Improve Outcome
          in Severe Pediatric Diabetic Ketoacidosis. Ann Emerg Med 1998; 31:41-48.

GRANT EXPERIENCE:
          October, 2008, 2009, 2010 - $130,000.00
          Source: TASER International, Inc.
          Project: Safety Testing of a 40 mm Conducted Electrical Weapon

          December, 2007 - $130,000.00
          Source: TASER International, Inc.
          Project: Effect of TASER Device Exposure in Combination with Methamphetamine in
          a Swine Model.

          August, 2007 - $10,000.00
          Source: Twin Cities Metropolitan EMS Board
          Project: Portable Carbon Monoximetry Utility in a Firefighting Rehabilitation Zone.

          May, 2003 - $56,000.00
          Source: Archibald Bush Foundation Medical Fellowship Grant
          Project: Physician cross-training in law enforcement to provide emergency medical care
          in tactical, high-risk environments.

          January, 1998 - $75,000.00
          Source: American International Health Alliance
          Project: The Effect of Introducing Automatic External Defibrillation Upon the Citizens
          of an Emerging Country (Republic of Moldova)

          December, 1997 - $7,500.00
          Source: Twin Cities Metropolitan EMS Board
          Project: The Effect of Utilizing ALS “Jump Cars” Within a Two-Tiered EMS System

          October, 1995 - $4,000.00
          Source: Twin Cities Metropolitan 911 Board
          Project: The Time Saved With the Use of Emergency Warning Lights and Sirens While
          Responding to Requests for Emergency Medical Aid in and Urban Environment

FORMAL PRESENTATIONS:
          March, 2010 – Western Regional Society for Academic Emergency Medicine
          Sonoma, California
          J Ho: Human Creatine Kinase Effect From Conducted Electrical Weapons
          J Ho: Do Conducted Electrical Weapon Probes Carry Bacteria?
          *Oral Presentations of original research

          January, 2010 – National Association of EMS Physicians Annual Meeting
          Phoenix, Arizona
          Bahr J, Lapine A and J Ho: The Utility of Point-of-Care Carbon Monoximetry in
          Fireground Emergency Medical Services Rehabilitation Operations.
          *Poster presentation of original research




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FORMAL PRESENTATIONS (continued):
           September, 2009 – WINFOCUS International Ultrasound Meeting
           Sydney, Australia
           Ho J: Ultrasound Use in Conducted Electrical Weapon Research
           *Poster presentation of original research

           February, 2009 – American Academy of Forensic Science Annual Meeting
           Denver, Colorado
           Ho J: Conducted Electrical Weapons – A Review of the Medical Literature
           *Oral presentation of a literature review

           February, 2009 – American Academy of Forensic Science Annual Meeting
           Denver, Colorado
           Ho J: TASER Wound Progression in Two Deployment Modes
           *Poster presentation of original research

           January, 2009 - National Association of EMS Physicians Annual Meeting
           Jacksonville, Florida
           Ho J: Human Cardiorespiratory and Acid/Base Effect of a Civilian Conducted Electrical
           Weapon
           *Oral presentation of original research
           Heegaard W, Hildebrandt D and J Ho: The Prehospital Ultrasound Study: Results of the
           First 6 months.
           *Poster presentation of original research

           January, 2009 – Caribbean Emergency Medicine Congress
           Bridgetown, Barbados
           Ho J: Introduction of the conducted electrical weapon in the hospital setting: 8 months
           of use
           Dawes D and J Ho: The Physiologic Effects of Multiple Simultaneous Electronic Control
           Device Discharges
           Dawes D and J Ho: The neuro-endocrine effects of the TASER X26 conducted electrical
           weapon
           *Poster presentations of original research

           September, 2008 – European Society of Emergency Medicine
           Munich, Germany
           And
           The National Association of Medical Examiners
           Louisville, Kentucky
           Ho J: Serum Biomarker Effect of Prolonged TASER® XREP Device Exposure
           Dawes D and J Ho: The Effects of the eXtended Range Electronic Projectile (XREP) on
           Breathing
           Dawes D and J Ho: Electrocardiographic evaluation of a long-range electronic control
           device (ECD) exposure in human volunteers
           *Poster presentations of original research

           July, 2008 – Australian College of Emergency Medicine
           Newcastle, Australia
           Ho J: Cardiac and Diaphragm Echo Evaluation During TASER Device Drive Stun
           Dawes D and J Ho: 1) The Effects of the Extended Range Electronic Projectile (XREP) on
           Breathing; 2) The Effect of a Cross-Chest Electronic Control Device Exposure on
           Breathing; 3) Echocardiographic Determination of Cardiac Rhythm During Trans-
           Thoracic Wireless Conducted Electrical Weapon Exposure
           *Poster presentations of original research




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FORMAL PRESENTATIONS (continued):
           May, 2008 – Heart Rhythm Society Annual Meeting
           San Francisco, California
           And
           June, 2008 – CARDIOSTIM
           Nice, France
           Ho J: Echocardiographic Evaluation of Human Transcutaneous TASER® Application
           Along the Cardiac Axis
           *Poster presentation of original research

           January, 2008 – National Association of EMS Physicians Annual Meeting
           Phoenix, Arizona
           And
           June, 2008 – Canadian Association of Emergency Physicians Annual Meeting
           Ottawa, Canada
           Ho J: Prolonged TASER® “Drive Stun” Exposure in Humans Does Not Cause Worrisome
           Biomarker Changes
           *Poster presentation of original research

           October, 2007 – American College of Emergency Physicians Research Forum
           Seattle, Washington
           and
           September, 2007 – Fourth Mediterranean Emergency Medicine Congress
           Sorrento, Italy
           Ho J: Ultrasound Measurement of Cardiac Activity During Conducted Electrical
           Weapon Application in Exercising Adults.
           *Poster presentation of original research

           September, 2007 – Fourth Mediterranean Emergency Medicine Congress
           Sorrento, Italy
           Ho J: Absence of Electrocardiographic Change Following Prolonged Application of a
           Conducted Electrical Weapon in Physically Exhausted Adults.
           *Poster presentation of original research

           October, 2007 – American College of Emergency Physicians Research Forum
           Seattle, Washington
           and
           September, 2007 – Fourth Mediterranean Emergency Medicine Congress
           Sorrento, Italy
           Dawes D, Ho J: Breathing Parameters, Venous Gases, and Chemistries with Exposure to
           a New Wireless Projectile Conducted Electrical Weapon.
           *Poster presentation of original research

           October, 2007 – American College of Emergency Physicians Research Forum
           Seattle, Washington
           and
           September, 2007 – Fourth Mediterranean Emergency Medicine Congress
           Sorrento, Italy
           Dawes D, Ho J: The Neuroendocrine Effects of the TASER X26 Conducted Electrical
           Weapon as Compared to Oleoresin Capsicum.
           *Poster presentation of original research




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FORMAL PRESENTATIONS (continued):
           October, 2007 – American College of Emergency Physicians Research Forum
           Seattle, Washington
           and
           September, 2007 – Fourth Mediterranean Emergency Medicine Congress
           Sorrento, Italy
           Dawes D, Ho J: 15-Second Conducted Electrical Weapon Exposure Does Not Cause Core
           Temperature Elevation in Non-Environmentally Stressed Resting Adults.
           *Poster presentation of original research

           September, 2007 – Fourth Mediterranean Emergency Medicine Congress
           Sorrento, Italy
           Dawes D, Ho J: 15-Second Conducted Electrical Weapon Application Does Not Impair
           Basic Respiratory Parameters, Venous Blood Gases, or Blood Chemistries.
           *Poster presentation of original research

           May, 2007 – Annual Meeting of the Society for Academic Emergency Medicine,
           Chicago, Illinois
           Ho J, et al: Physiologic Effects of Prolonged Conducted Electrical Weapon Discharge on
           Acidotic Adults
           *Poster presentation of original research

           May, 2007 – Annual Meeting of the Society for Academic Emergency Medicine,
           Chicago, Illinois
           Ho J, et al: Absence of Electrocardiographic Change Following Prolonged Application of
           a Conducted Electrical Weapon in Physically Exhausted Adults
           *Poster presentation of original research

           May, 2007 – Annual Meeting of the Society for Academic Emergency Medicine,
           Chicago, Illinois
           Moscati R, Ho J, et al: Physiologic Effects of Prolonged Conducted Electrical Weapon
           Discharge on Intoxicated Adults
           *Poster presentation of original research

           June, 2006 – Annual Meeting of the National Alliance for the Mentally Ill
           Washington, D.C.
           Dawes D, Ho J, et al: Beneficial Impact of Conducted Electrical Weapons in the Mentally
           Ill Population
           *Poster presentation of original research

           June, 2006 – CARDIOSTIM 2006 Annual Meeting of International Cardiac
           Electrophysiologists
           Nice, France
           Ho J, et al: Absence of Electrocardiographic Findings Following TASER Device
           Application in Human Volunteers
           *Poster presentation of original research

           September, 2005 – 2005 Scientific Assembly of the American College of Emergency
           Physicians
           Washington, D.C.
           Ho J, et al: Deaths in Police Custody: An 8-Month Surveillance Study
           *Poster presentation of original research




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FORMAL PRESENTATIONS (continued):
           September, 2005 – Third Mediterranean Emergency Medicine Congress
           Nice, France
           Ho J, et al: Deaths in American Police Custody: A 12-Month Surveillance Study
           *Oral Presentation of original research

           January, 2005 – Annual Meeting of the National Association of EMS Physicians,
           Naples, Florida
           Bultman L, Ho J, Page D: Safety Restraint Usage Patterns in an Urban EMS System
           *Poster presentation of original research

           January, 2005 – Annual Meeting of the National Association of EMS Physicians,
           Naples, Florida
           Bultman L, Ho J, Page D: Disposition of Undesignated patients in Urban Minnesota
           *Poster presentation of original research

           September, 2004 – Minnesota Ambulance Medical Directors Annual Conference,
           Alexandria, Minnesota
           Bultman L, Ho J, Page D: Preliminary Report on Undesignated Patient Disposition in
           Urban Minnesota
           *Oral presentation of original research

           January, 2004 – Annual Meeting of the National Association of EMS Physicians,
           Tucson, Arizona
           Ansari R, Ho J: Hand Sanitization Rates in an Urban EMS System
           *Oral presentation of original research,
           *Awarded Best Oral Presentation of Original Research

           January, 2001 – Annual Meeting of the National Association of EMS Physicians,
           Sanibel Island, Florida
           Black C, Ho J: 1 Paramedic vs. 2-How Often is a Second Paramedic Utilized in an Urban
           EMS System?
           *Poster presentation of original research

           September, 1997 – Minnesota Ambulance Medical Directors Annual Conference,
           Alexandria, Minnesota
           Ho J: Preliminary Report on the Time Saved with the Use of Emergency Warning Lights
           and Siren While Responding to Requests for Medical Aid in a Rural Environment.
           *Oral presentation of original research

           May, 1997 – Annual Meeting of the Society for Academic Emergency Medicine,
           Washington, D.C.
           Ho J: Time Saved with the Use of Emergency Warning Lights and Sirens While
           Responding to Requests for Medical Aid.
           *Poster presentation of original research

           January, 1997 – Mid-Year Scientific Meeting of the National Association of EMS
           Physicians, Lake Tahoe, Nevada
           Ho J: Time Saved with the Use of Emergency Warning Lights and Sirens While
           Responding to Requests for Medical Aid.
           *Oral presentation of original research
           *Awarded Best Oral Presentation of Original Research

FORMAL PRESENTATIONS (continued):
           November, 1996 – Twin Cities Metropolitan 911 Board, St. Paul, Minnesota



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           Ho J: Final Report on the Time Saved with the Use of Emergency Warning Lights and
           Sirens While Responding to Requests for Medical Aid in Minneapolis.
           *Oral presentation of original research

           May, 1996 – Annual Meeting of the Society for Academic Emergency Medicine,
           Denver, Colorado
           Ho J: Automatic External Defibrillation and its Effects on Neurologic Outcome in
           Cardiac Arrest Patients in an Urban Two-Tiered EMS System.
           *Poster presentation of original research

           May, 1996 – Annual Meeting of the Society for Academic Emergency Medicine,
           Denver, Colorado
           Ho J: The Utility of the Routine Swimmers View Cervical Radiograph in Addition to the
           Cross Table Lateral Cervical Radiograph in Detecting Cervical Spine Injury in Critical
           Trauma Patients.
           *Poster presentation of original research

           May, 1995 – Clinical-Pathologic Case Competition at the Annual Meeting of the
           Society for Academic Emergency Medicine, San Antonio, Texas
           Ho J: Cutaneous Actinomycosis
           *Oral presentation of a case study

INVITED PRESENTATIONS:
           February, 2010 – HCMC EMS Trauma Symposium
           Ho J: Arrest-Related Death and the EMS Provider
           *Oral presentation of Arrest-Related Death causes, prevention and awareness

           February, 2010 – Douglas Amdahl Inn of Court
           Minneapolis, MN
           Ho J: The Effect of Homeless Persons on the Healthcare System
           *Invited panel member

           November, 2009 – MN Symposium on Terrorism and Emergency Preparedness
           Brooklyn Park, Minnesota
           Ho J: TEMPO Tactical Emergency Medical Peace Officer Introduction
           *Oral presentation of new instructional course and proof of concept

           October, 2009 – National Association of Internal Affairs Investigator Meeting
           Gatlinburg, Tennessee
           Ho J: Arrest-Related Deaths Issues for Investigators
           *Oral presentation of Arrest-Related Death causes, prevention and awareness

           July, 2009 – TASER International Tactical Conference
           Scottsdale, Arizona
           Ho J: Human Research Update 2008-2009
           *Oral presentation of research team accomplishments over a 12-month period

           June, 2009 – Waukesha County Custodial Death Conference
           Pewaukee, Wisconsin
           Ho J: Sudden Death and the TASER Device
           *Oral presentation of academic issues and research to local medical and law
           enforcement leadership

INVITED PRESENTATIONS (continued):
           May, 2009 – 5th European Symposium on Non-Lethal Weapons



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           Ettlingen, Germany
           Ho J: The State of Current Human Research and Electronic Control Devices (ECDs)
           *Oral presentation to European military and law enforcement leadership on the current
           research in this subject area

           May, 2009 - Greek Government Official Presentation
           Athens, Greece
           Ho J: The TASER Device Human Research Update
           *Oral presentation of current medical research involving TASER devices

           March, 2009 – Lafourche Parish Sudden Death Conference
           Lafourche Parish, Louisiana
           Ho J: Arrest-Related Death
           *Oral presentation of Arrest-Related Death causes, prevention and awareness.

           December, 2008 – Meeker County Sheriff’s Office Prisoner Treatment Training
           Litchfield, Minnesota
           Ho J: Custodial Arrest-Related Death Physiology for Law Enforcement
           * Oral presentation of Custodial Death causes, prevention and awareness.

           October, 2008 – Association of Training Officers of Minnesota Fall Conference
           Plymouth, Minnesota
           Ho J: Custodial Death Issues for Law Enforcement
           *Oral presentation of Custodial Death causes, prevention and awareness.

           October, 2008 – LifeLink III Trauma Tactics Conference
           Red Wing Minnesota
           Ho J: Custodial Death Issues for EMS Responders
           *Oral presentation of Custodial Death causes, prevention and awareness.

           October, 2008 – Overland Park Public Safety Presentation
           Overland Park, Kansas
           Ho J: Sudden Arrest Related Death and The TASER Device
           *Oral presentation of sudden death current medical research involving TASER devices

           September, 2008 – Multijurisdictional Law Enforcement Authority Presentation
           (Germany, Austria, Switzerland)
           Munich, Germany
           Ho J: The TASER Device Human Research Update
           *Oral presentation of current medical research involving TASER devices

           July, 2008 – Australian Law Enforcement Official Presentation
           Sydney, Australia
           Ho J: The TASER Device Human Research Update
           *Oral presentation of current medical research involving TASER devices

           May, 2008 – Braidwood Commission
           Vancouver, Canada
           Ho J: Testimony
           *Oral presentation of sworn testimony on numerous research findings involving TASER
           devices

INVITED PRESENTATIONS (continued):
           May, 2008 – Bloomington Police Department Citizen Academy Night
           Bloomington, Minnesota
           Ho J: TASER Devices – An Evening With The Experts



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           *Oral presentation of current medical research involving TASER devices

           April, 2008 – MN State Patrol Drug Recognition Evaluator School
           White Bear Lake, Minnesota
           Ho J: Human Function and Physiology
           *Oral presentation of core course content topic for law enforcement officials
           January, 2008 – Association of Training Officers of Minnesota Winter Conference
           Minneapolis, Minnesota
           Ho J: Custodial Death Issues for Law Enforcement
           *Oral presentation of Custodial Death causes, prevention and awareness.

           November, 2007 – 2nd Annual Conference of the Institute for the Prevention of In
           Custody Death
           Las Vegas, Nevada
           Ho J: Human Research on Conducted Electrical Weapons
           *Oral presentation of past, present and future human research involving electrical
           weaponry

           October, 2007 – German Military and National Police Scientific Annual Meeting
           Berlin, Germany
           Ho J: Conducted Electrical Weapons: Update of Current Research
           *Oral presentation to the German National military and police scientific community on
           current research in this subject area

           August, 2007 – Baltimore Medical Examiner’s Office In-House Training
           Baltimore, Maryland
           Ho J: The State of Current Human Research and Electronic Control Devices(ECDs)
           *Oral presentation to forensic scientific community on the current research in this
           subject area

           June, 2007 – 29th Annual BioElectroMagnetic Society Meeting
           Kanazawa, Japan
           Ho J: The State of Current Human Research and Electronic Control Devices(ECDs)
           *Oral presentation to an international scientific community on the current research in
           this subject area

           May, 2007 – 4th European Symposium on Non-Lethal Weapons
           Ettlingen, Germany
           Ho J: The State of Current Human Research and Electronic Control Devices(ECDs)
           *Oral presentation to European military and law enforcement leadership on the current
           research in this subject area

           March, 2007 – City Council Task Force Meeting
           Palo Alto, California
           Ho J: TASER Devices and Human Effects – What can research tell us?
           *Oral testimony to city officials and the lay public of current research as they debate
           moving towards deployment of conducted electrical weapons in their city
INVITED PRESENTATIONS (continued):
           March, 2007 – MN Reserve Police Officer Association Annual Meeting
           Brooklyn Park, Minnesota
           Ho J: Custodial Death and Intermediate Weapons
           *Oral presentation to membership about the custodial death phenomenon

           January, 2007 – Minnesota Bureau of Criminal Apprehension
           St. Paul, Minnesota
           Ho J: Medical Considerations in Sudden Custodial Death Investigations


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         *Oral presentation to state investigators about the custodial death phenomenon
         December, 2006 – An Garda Siochaina (Irish National Police Agency)
         Dublin, Ireland
         Ho J: Conducted Electrical Weapon Research Update
         *Oral presentation of pertinent safety research given to the police administration as they
         move towards deployment of conducted electrical weapons in Ireland

         December, 2006 – Accident and Emergency Physicians Association of Ireland
         Dublin, Ireland
         Ho J: Comprehensive Analysis of Custodial Death and Conducted Electrical Weapons
         *Oral presentation of the custodial death phenomenon and how it relates to the
         introduction of electrical weapons into society

         November, 2006 – Meeker County Sheriff’s Office Use of Force Update
         Litchfield, Minnesota
         Ho J: Electronic Control Device and Use of Force Physiology for Law Enforcement
         *Oral Presentation of human response to electronic control device applications

         November, 2006 – 1st Annual Conference of the Institute for the Prevention of In
         Custody Death
         Las Vegas, Nevada
         HoJ: Human Research on Conducted Electrical Weapons
         *Oral presentation of past, present and future human research involving electrical
         weaponry.

         November, 2006 – Grand Rounds for the Faculte’ de Medecine Rene Descartes Paris
         5 School of Medicine
         Paris, France
         Ho J: Conducted Electrical Weapon Controversies and Research
         *Oral presentation of experience and research to prepare their providers for patient care
         issues as France begins to deploy electrical weapons to their police forces.

         September, 2006 – 21st Annual MN EMS Medical Director Conference
         Alexandria, Minnesota
         Ho J: Issues of In Custody Death for EMS Providers
         *Oral presentation on the interface of EMS providers with the phenomenon of sudden,
         unexpected death of persons in law enforcement custody.

         June, 2006 – US Department of Defense and National Institute of Justice Human
         Electro-Muscular Incapacitation Device Conference
         Quantico, Virgina
         Ho J: Conducted Electrical Weapon Human Research Update
         *Oral presentation on the state of research involving electronic weapons and their effects
         on human subjects.




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INVITED PRESENTATIONS (continued):
           May, 2006 – TASER International Domestic Tactical Conference
           Las Vegas, Nevada
           Ho J: TASER Device Medical Research Update
           *Oral presentation of current medical research specifically involving TASER devices

           2005-2007 – Minneapolis Police Crisis Intervention Tactics Training
           Various locations within Minnesota
           Ho J: Custodial Death in the Mentally Ill Population
           *Oral presentation at a recurring training class sponsored by the Barbara Schneider
           Foundation to train law enforcement officers in specific tactics for dealing with mentally
           ill subjects.

           February, 2010 – Michigan (Michigan State Police Academy)
           June, 2009 – California (Fairfield Police Department)
           April, 2009 – Minnesota (Bloomington Police Department)
           March, 2009 – California (Los Angeles County Sheriff’s Office)
           April, 2008 – California (California Highway Patrol)
           November, 2007 – Hawaii (Honolulu Police Department)
           September, 2007 – Canada (Vancouver Police Department)
           March, 2007 – Virginia (Prince William County Sheriff’s Office)
           December, 2006 – Canada (Toronto Police Department)
           November, 2006 – California (Oakland Police Department)
           October, 2006 – Illinois (Chicago Police Department)
           August, 2006 – Colorado (Colorado Springs Police Department)
           July, 2006 – Oregon (Portland Bureau of Police)
           June, 2006 – Ohio ( Cleveland Police Department)
           June, 2006 – Nice, France (CARDIOSTIM/French National Police)
           March, 2006 – California (Santa Ana Police Department)
           February, 2006 – California (San Diego County Sheriff’s Office)
           December, 2005 – Scottsdale, Arizona (TASER International)
           October, 2005 – Scottsdale, Arizona (TASER International)
           Ho J: Arrest Related Deaths, Excited Delirium and TASER Devices
           *Recurring Lecture Series: TASER Police Executive Conference; Oral presentation of
           theories of In Custody Death based on history and medical literature addressing
           concerns of the roles that TASER devices play in this phenomenon

           December, 2005 – NM Police Chief Association, Albuquerque, New Mexico
           November, 2005 – Public Information Forum, Gary, Indiana
           September, 2005 – International Association of Chiefs of Police, Miami, Florida
           August, 2005 – Kansas Law Enforcement Conference, Topeka, Kansas
           July, 2005 – Houston Area Public Safety Forum, Houston, Texas
           June, 2005 – PRIMA Annual Meeting, Milwaukee, Wisconsin
           June, 2005 – San Jose Police Management Meeting, San Jose, California
           May, 2005 – National League of Cities Public Safety Council, Reno, Nevada
           Ho J: In Custody Death Issues
           *Oral presentation of medical literature, research data and experience

           April, 2005 – TASER International Domestic Tactical Conference
           Scottsdale, Arizona
           Ho J: In Custody Death and Law Enforcement Considerations
           *Oral presentation of medical literature, research data and experience




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INVITED PRESENTATIONS (continued):
           June, 2004 – Metro Atlanta Police Chiefs Association
           Atlanta, Georgia
           Ho J: Medical Considerations for In-Custody Deaths
           *Oral presentation of medical literature and experience

           December, 2002-present – Hopkins High School (ISD 270) Healthcare Career Class
           Hopkins, Minnesota
           Ho J: A Career in Emergency Medicine
           *Oral presentation given annually to high school seniors considering careers in medicine

           September, 2002 – Annual Meeting of the International Rescue Association
           Bloomington, Minnesota
           Ho J: Ballistic Considerations for Field EMS Personnel
           *Oral presentation of continuing medical education

           May, August, September and October, 2000 – Annual Meetings of the Hennepin
           County Medical Center Trauma Team; Minnesota ACEP; Minnesota Ambulance
           Medical Directors; and LifeLink III Prehospital Providers; Bloomington, Brainerd,
           Alexandria and Red Wing, Minnesota
           Ho J: Rescue on Interstate 35
           *Oral presentations of a case study

           September, 1999 – EMS Personnel Instruction at Republican Trauma Hospital
           Chisinau, Moldova
           Heegaard W, Ho J: Automatic External Defibrillation
           *Oral presentation of continuing medical education and research proposal

           May, 1998 – Trauma Grand Rounds at Careggi Medical and Trauma Center,
           Florence, Italy
           Ho J: American Emergency Medical Services
           *Oral Grand Rounds presentation

           May, 1998 – Trauma Grand Rounds at Republican Trauma Hospital
           Chisinau, Moldova
           Ho J: Advances in Trauma Care
           *Oral Grand Rounds presentation

           January, 1998 – Minnesota Tactical EMS Conference
           Minneapolis, Minnesota
           Ho J: Firearm Injuries
           *Oral presentation of continuing medical education

           January, 1998 – Augsburg College Physician Assistant Training Program
           Minneapolis, Minnesota
           Ho J: An Introduction to Emergency Medical Services
           *Oral presentation of continuing medical education

           January, 1997 – Emergency Medicine Grand Rounds at Loma Linda University
           Loma Linda, California
           Ho J: Controversies in EMS
           *Oral Grand Rounds presentation




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INVITED PRESENTATIONS (continued):
             February, 1996 – Annual Meeting of the Arrowhead EMS Association
             Duluth, Minnesota
             Ho J: Initial Patient Assessment – Everything You Need to Know
             *Oral presentation of continuing medical education

            August, 1995 – The University of Costa Rica College of Medicine National
     Symposium on Emergency Health Care
            San Jose, Costa Rica
            Ho J: Advances in Cardiac Care and Emergency Management of HIV Patients
            *Oral presentations of continuing medical education

LOCAL ACADEMIC LECTURES:
             2008: Geriatric Trauma and Vulnerable Adults – resident education
             2007 to Present: Behavioral Emergencies – paramedic student education
             November, 2006: In-Custody Death Events – paramedic education
             2003 to Present: The Violent Patient – resident education
             2002 to Present: The Difficult Patient Encounter – resident education
             1996 to Present: Medical Student Introduction to the EMS System
             1996 to Present: Residency Update on the State of EMS
             September, 1995: Allergic Reactions – paramedic education
             April, 1995: Basic Head Trauma Management – paramedic education
             March, 1995: Emergency Cardiac Care Update – paramedic education
             March, 1995: Adrenal Emergencies – paramedic education
             October, 1994: Ophthalmologic Emergencies – resident education
             September, 1994: Fluid Resuscitation in Thermal Injuries – resident education
             May, 1994: Cardiopulmonary Emergencies – paramedic education
             October, 1993: Cocaine Related Chest Pain – resident education
             May, 1993: Rectal Foreign Bodies – resident education
             April, 1993: Acute Pancreatitis – resident education


COMMITTEE EXPERIENCE:
             Chair
             2002 to 2004: Hennepin County EMS Council/Medical Director Subcommittee
             1998 to 2002: Hennepin County EMS Council/Paramedic Subcommittee
             1997 to Present: Minnesota Chapter, American College of Emergency Physicians
             EMS Committee
             1996 to 1997: Hennepin County Medical Center Patient Retention Task Force
             1996 to 1998: Hennepin County EMS Council/Paramedic Education Task Force

             Boards of Directors
             2009 to Present: MN Chapter, American College of Emergency Physicians
             2006 to Present: MN EMS Medical Directors Education Association, Inc.
             (President and Chair)
             2004 to 2006: MN EMS Medical Directors Education Association, Inc.
             (Secretary/Treasurer)
             1996 to 1997: Minnesota Chapter, American College of Emergency Physicians
             1995 to 1998: Minnesota Association of EMS Physicians




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COMMITTEE EXPERIENCE (continued):
           Member
           2009 to Present: American Academy of Emergency Medicine Clinical Practice
           Committee
           2008 to Present: American College of Emergency Physicians Task Force on Excited
           Delirium
           2006 to 2007: Hospital Security Task Force, Hennepin County Medical Center
           2003 to Present: American College of Emergency Physicians Section on Tactical
           EMS
           2000 to 2001: Minneapolis Civil Disturbance Planning Committee
           1999 to Present: Minnesota Annual Ambulance Medical Director Retreat Planning
           Committee
           1997 to 2000: LifeLink III Aeromedical Transport Medical Advisory Committee
           1997 to Present: Hennepin County EMS Council Medical Standards Committee
           1997 to Present: Hennepin County EMS Council
           1995 to 1998: Hennepin County EMS Council/Paramedic Subcommittee
           1995 to 1996: Hennepin County Medical Center Trauma Multidisciplinary
           Committee

PROFESSIONAL ASSOCIATIONS:
           American College of Emergency Physicians – Fellow
           American Academy of Emergency Medicine - Fellow
           American Board of Emergency Medicine – Diplomate
           American Board of Emergency Medicine – Oral Examiner
           Society of Academic Emergency Medicine - Member
           National Association of EMS Physicians – Member
           International Association of Chiefs of Police – Member
           National Sheriffs’ Association - Member
           Fraternal Order of Police – Member
           MN Professional Peace Officer Association – Member
           Archibald Bush Foundation – Senior Medical Fellow

LICENSURE & CERTIFICATION:
           Minnesota Peace Officers Standards and Training Board, License #18203
           Fellow of the American College of Emergency Physicians #355932
           Fellow of the American Academy of Emergency Medicine
           Diplomate of the American Board of Emergency Medicine-1997
             Recertified 2006
           Diplomate of the National Board of Medical Examiners-1994
           Minnesota Medical License #36894
           Nevada Medical License #8083 (inactive)
           ACLS/APLS/ATLS provider and instructor certified
           PALS provider certified
           TASER operator and instructor certified
           Minnesota Emergency Vehicle Operator Certification
           Minnesota Police Pursuit Vehicle Operator Certification
           Minnesota Police Pursuit Intervention Tactics (PIT) Certification
           Standardized Field Sobriety Testing Certification
           Tactical EMS/SWAT Physician Certification
           California Firefighter Certification
REFERENCES:


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